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  B2100A (Form 2100A) (12/15)


                            United States Bankruptcy Court
                              Northern
                            ______________________ District                Of ______________________
                                                                                GEORGIA
        Taryn Kae'lyn Mcfarthing
  In re ______________________________________          18-58723
                                               Case No. ___________________________




                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
  A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
  Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
  transfer, other than for security, of the claim referenced in this evidence and notice.



  Jefferson Capital Systems LLC
  ___________________________________________                                  BRIDGECREST       CREDIT COMPANY
                                                                               _________________________________________
              Name of Transferee                                                           Name of Transferor
  Name and Address where notices to transferee                                 Court Claim # (if known): 1
  should be sent:                                                              Amount of Claim: $13,728.57
  Jefferson Capital Systems LLC                                                Date Claim Filed: 6/1/2018
  PO BOX 7999
  Saint Cloud , MN 56302-9617

           888-836-6853
  Phone: ______________________________                                                800-856-3608
                                                                               Phone: __________________________
                                4100
  Last Four Digits of Acct #: ______________                                                                 4100
                                                                               Last Four Digits of Acct #: __________

  Name and Address where transferee payments
  should be sent (if different from above):
  Jefferson Capital Systems LLC
  PO BOX 772813
  Chicago , IL 60677-2813
           888-836-6853
  Phone: ______________________________
                                4100
  Last Four Digits of Acct #: ______________



  I declare under penalty of perjury that the information provided in this notice is true and correct to the
  best of my knowledge and belief.

  By:_______________________________________
     /s/ Lois Nordlund (Bankruptcy Specialist)                                   Date:________________________
                                                                                        08/20/2018
              Transferee/Transferee’s Agent



  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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